       Case 2:25-cv-00524-NR        Document 40       Filed 06/09/25   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
STUDENTS FOR JUSTICE IN                           )
PALESTINE AT PITT,                                )
                                                  )   2:25-cv-524
               Plaintiff,                         )
                                                  )
       v.                                         )
                                                  )
UNIVERSITY OF PITTSBURGH; et al.,                 )
                                                  )
              Defendants.                         )

                                        ORDER
      The Court has before it several discovery disputes by the parties. Given the

expedited nature of the proceedings, the Court issues this order resolving these

issues, without detailed explanation. The Court reserves the right to issue a more

fulsome explanation of its decision at a later date.

      1.     On the issue of the associational privilege, the Court grants in part and

denies in part Plaintiff’s motion for a protective order. The Court finds the following

documents on Plaintiff’s privilege log to be highly relevant to the pending motion (at

least as described on the log), and orders that they be produced: (1) P 12; (2) P 19; (3)

P 20-23; (4) P 27; (5) P 28; (6) P 29; (7) P 38-42; (8) P 78; (9) P 651; (10) P 652; (11) P

665; (12) P 666. To minimize any chilling effect to Plaintiff’s members, Plaintiff may
produce these documents under an “outside counsel only” designation; may redact the

names of any individuals listed on the document who are not officers in the

organization; and may designate any portions of deposition transcripts referring to

any individuals associated with these documents as “outside counsel only.”

      2.     On the issue of attorney-client privilege and work-product protection as

to the Lobel emails, the Court grants Plaintiff’s motion for a protective order. The

segregated emails shall not be reviewed by Defendants and shall be considered

presumptively privileged.


                                            -1-
       Case 2:25-cv-00524-NR        Document 40     Filed 06/09/25   Page 2 of 2




      3.       On the issue raised by Defendants of Plaintiff’s failure to preserve

documents and any potential adverse inferences the Court should draw, the Court

will reserve ruling on this issue. The parties are free to make a record of this issue

through the depositions and in the course of preliminary-injunction briefing and at

the hearing.

      4.       This order is provisional, and entered to resolve the pending disputes as

expeditiously as possible given the pending preliminary-injunction motion. With

advance notice to the parties, the Court reserves the right to modify this order,
including if this case proceeds past the preliminary-injunction stage, or as additional

information comes to light.



DATED this 9th day of June, 2025.
                                                       BY THE COURT:


                                                       /s/ J. Nicholas Ranjan
                                                       United States District Judge




                                           -2-
